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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS


                                           MDL No. 2545
IN RE: TESTOSTERONE REPLACEMENT            Master Docket Case No. 1:14-cv-01748
THERAPY PRODUCTS LIABILITY LITIGATION      Honorable Matthew F. Kennelly
This document applies to:
MDL NO. 2545
Master Docket Case No. 1:14-cv-01748



        PLAINTIFFS’ STEERING COMMITTEE’S OMNIBUS RESPONSE IN OPPOSITION
         TO ABBVIE’S “REQUESTS TO ADOPT PRIOR MOTION IN LIMINE RULINGS”




August 29, 2018
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                                              Introduction

         Plaintiffs respectfully submit this omnibus response in Opposition to AbbVie’s “Requests

to Adopt Prior Motion In Limine Rulings,” which is included in each of its case-specific Wave 1

omnibus MIL briefs. The parties have come to resolution on five of AbbVie’s requests (a, e, g, k,1

and l2). Plaintiffs continue to object to, or otherwise dispute the language/framing of, seven of

AbbVie’s requests (b, c, d, f, h, i, and j), which Plaintiffs address, infra. This omnibus brief is

being filed on the master docket and the following individual dockets: Cecile Frost v. AbbVie Inc.,

et al., Case No. 1:15-cv-01484; Gordon Abraham, et al., v. AbbVie Inc., et al., Case No. 1:15-cv-

05009; Dick Bechtholdt v. AbbVie Inc., et al., Case No. 1:15-cv-09652; Edwin Clay Harris v.

AbbVie Inc., et al., Case No. 1:14-cv-07963; George Kibat v. AbbVie Inc., et al., Case No. 1:15-

cv-08820; Edward Natale, Jr. and Barbara-Anne Natale v. AbbVie Inc., et al., Case No. 1:16-cv-

05706; and Dominick Papandrea et al., v. AbbVie Inc., et al., Case No. 1:14-cv-08948. The Court

granted Plaintiffs’ request to file the instant twelve-page omnibus brief (Dkt. 2851) on August 27,

2018 (Dkt. 2856).

                          Plaintiffs’ Opposition to AbbVie’s Request (b)

       “Plaintiff will not assert a claim that AbbVie defrauded the FDA or that the FDA would
have acted differently on the basis of other information. Plaintiff may present evidence of what
information AbbVie provided to, or withheld from, the FDA and the FDA’s response or non-
response to such information. (In Re Testosterone Replacement Therapy Prod. Liabl. Litig.
Coordinated Pretrial Proceedings, No. 14 C. 1748, 2017 WL 1836443, at *20 (N.D. Ill. May 8,
2017; CMO 59, p. 2).”


                                                            
1
   The parties have agreed to the following modification to AbbVie’s request (k): “Plaintiff will not
introduce Exhibits 145 (emails and consultant notes from mock advisory committee) and 905 (August 7,
2014 email regarding advisory committee briefing document), which are comments made by third
parties. (Konrad II Tr. p. 2075).”
2
 The parties have agreed to the following modification to AbbVie’s request (l): “If introduced, Plaintiff
will redact the third sentence of Exhibit 608, stating "I am not changing my practice, but I had a doctor
say to me today 'testosterone kills." (Konrad II transcript, p. 2073)
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Response:

        AbbVie’s recitation of the Court’s ruling here continues to be unfairly lopsided in its favor

and, at bottom, simply an incomplete statement of how the Court how has addressed it.

        Although the issue has come up on several occasions during the first bellwether trials, the

two seminal rulings on it were the Court’s order denying summary judgment on “off-label” claims

and its in limine order before the first Mitchell and Konrad trials. See CMO No. 48, Doc. No.

1897, at *43; and CMO No. 59, Doc. No. 1966, at *1-2. To re-orient the Court, at summary

judgment AbbVie made a variety of arguments attempting to cast certain of Plaintiff’s claims as

“fraud-on-the-FDA”-based, repeatedly conflating Plaintiff’s evidence with their actual claims.

Rejecting AbbVie’s characterizations, the Court correctly observed, inter alia:

        Plaintiffs say they are not challenging the FDA’s approvals [] to support a claim of
        fraud on the FDA, and the Court agrees that plaintiffs cannot advance claims along
        these lines. But the testimony is properly admissible, in the Court’s view, to attempt
        to show that AbbVie and its predecessors conveyed misleading information to
        physicians and patients concerning the safety and efficacy of the product.

CMO No. 48, Doc. No. 1897, at *43; see also id. at *13-16 (rejecting preemption arguments).

When AbbVie again raised this issue in limine before Mitchell and Konrad, the Court again

clarified:

        On this issue, the Court has already ruled that plaintiffs may not assert a claim that
        AbbVie defrauded the FDA or that the FDA would have acted differently on the
        basis of other information. The Court has also ruled, however, that evidence of
        what information AbbVie provided to, and withheld from, the FDA is relevant to
        plaintiffs’ claims that AbbVie misled the public, including plaintiffs and their
        prescribing physicians. AbbVie argues that any information it withheld from the
        FDA is information it was not required to submit, and thus withholding that
        information was not misleading. AbbVie will be free to press this point on cross-
        examination. Plaintiffs may introduce evidence that AbbVie’s submissions to the
        FDA misled the public; AbbVie’s arguments to the contrary go to the weight, rather
        than the admissibility, of that evidence. AbbVie’s motion to exclude evidence of
        information it submitted to the FDA is denied.

CMO No. 59, Doc. No. 1966, at *2 (internal citations omitted).

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        Underscoring the need for clarity on this issue, AbbVie has repeatedly tried to use the

Court’s ruling protecting it from a “fraud-on-the-FDA” claim as a sword to improperly attack

Plaintiff’s evidence at trial. For instance, as the Court might recall, in Mitchell II, AbbVie counsel

attempted to suggest that the absence of such a “claim” essentially meant that Plaintiff was not

really charging AbbVie with any misconduct, see, e.g., Mitchell II Tr.3, at 823:19—825:18, and

then tried to drive that misrepresentation home to the jury in his closing slides. Id. at 2797:25—

2802:9.

        This gamesmanship should not be permitted going forward. Unfortunately, AbbVie’s

current proposal would not curtail, but only invite, more of the same, and so AbbVie’s language

misses the mark. Instead, Plaintiffs propose the following language for a global order on this issue:

        Plaintiffs have not pleaded legal “claims” for fraud on the FDA. Instead, Plaintiffs
        have “evidence” showing what information and materials AbbVie provided or did
        not provide to FDA. Plaintiffs are free to offer that evidence in support of their
        arguments that AbbVie misled the FDA, and by extension misled the public, the
        medical community, and consumers, as to the safety and efficacy of AndroGel.
        That evidence and those arguments, if presented and if made, are relevant to
        Plaintiffs’ state-law-based common law claims for relief, including negligence,
        negligent misrepresentation, fraud, and punitive damages.


                           Plaintiffs’ Opposition to AbbVie’s Request (c)

         “Plaintiff will not introduce evidence of alleged misconduct by other TRT manufacturers,
except that plaintiff is allowed to introduce evidence of communications from the FDA to other
TRT manufacturers that AbbVie received and put AbbVie on notice, including the FDA’s 2010
letter to Slate Pharmaceuticals regarding Testopel. (CMO 59, pp. 6-7).”

Response:

        The Court has not foreclosed the possibility of Plaintiffs introducing evidence of other TRT

manufacturers’ misconduct, provided that the evidence can be understood without the need for

extended background. CMO 59, at 6-7. The Court previously held that “at least one item of

                                                            
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   Excerpts of the Mitchell II Tr. are attached hereto as Ex. 1
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evidence regarding another manufacturer of TRT is relevant and would not pose a substantial risk

of unfair prejudice or confusion.” Id. (emphasis added). Applying this rationale, the Court has

allowed into evidence the FDA warning letter to Slate Pharmaceuticals regarding improper

marketing of its TRT product (Testopel). The Court has not held that evidence of misconduct must

take the form of communications from the FDA to other TRT manufacturers which AbbVie also

received. AbbVie’s motion should be denied to the extent that it attempts to further expand the

Court’s holding and limit Plaintiffs ability to offer evidence of other TRT manufacturers’

misconduct which can be readily placed in context. This issue is best addressed at trial on a

document by document basis.

                        Plaintiffs’ Opposition to AbbVie’s Request (d)

       “Plaintiff will not introduce evidence of other AbbVie drugs, including evidence regarding
AbbVie’s DHT drug for hypogonadism (CMO 59, p. 6) and Depakote, including of the related
Corporate Integrity Agreement (“CIA”) (id. p. 5). If Plaintiff seeks an exception to that ruling, he
must first proffer outside of the jury’s presence the evidence he would introduce to demonstrate
relevance including that the CIA was effective before Plaintiff’s first AndroGel prescription and
that AbbVie breached its CIA obligations with respect to AndroGel and obtain the Court’s
approval that such relevance is not outweighed by the prejudice. (Id. p. 6; Nolte Dkt. 88, 1/15/18
Minute Entry).”


Response:
       Plaintiffs have agreed not to introduce evidence of other AbbVie drugs, including

AbbVie’s DHT drug for hypogonadism. Plaintiffs do not agree to a wholesale exclusion of

evidence regarding Depakote and the Corporate Integrity Agreement (CIA) that AbbVie entered

into on May 7, 2012. See CIA and related Press Release attached hereto as Ex. 2 & 3, respectively.

As the Court previously noted, “[h]ad AbbVie entered into the corporate integrity agreement prior

to the dates that plaintiffs began taking AndroGel, the agreement likely would be relevant to show

that AbbVie had notice of the need to police its sales representatives and yet failed to live up to

the standards to which it had agreed.” CMO 59, at 6. Therefore, because Plaintiffs Harris,

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Bechtholdt, and Papandrea began taking AndroGel after May 7, 2012, those Plaintiffs should be

allowed to introduce evidence related to the CIA in accordance with the Court’s reasoning in

CMO 59.4

        The CIA embodies a voluntary agreement between the Office of the Inspector General

(OIG) of the United States Department of Health and Human Services (HHS) and Abbott and its

successors (eventually, Abbott Laboratories and AbbVie). See CIA, at 1-2. Although AbbVie

characterizes the CIA as “related” to Depakote, it is actually not specific to Depakote—the

agreement covers all of Abbott’s pharmaceutical products. See id. at 4. It outlines Abbott’s (and

by extension AbbVie’s) agreement to be bound by standards relating to myriad company affairs,

including the very sorts of conduct that have been at issue in bellwether trials to date: promotional

activities generally; training for improper versus proper promotional activities; requirements for

speaker programs; and close observation of sales representatives. These requirements go to

standards by which a reasonable company and, in particular, AbbVie—the company that expressly

agreed to them—could be judged. As the Court previously recognized, the CIA further provides

notice to AbbVie of the need to be vigilant in ensuring that its sales force abide by certain rules,

e.g., promoting AndroGel only for uses for which it had been indicated, and thus shown by

substantial evidence to be effective. These standards to which it promised to adhere — and

evidence of AbbVie’s failure to correspondingly abide by them—are directlyrelevant to Plaintiffs’

negligence, misrepresentation, and punitive damage claims.

        Additionally, if AbbVie seeks to introduce generalized evidence of “good company”

conduct, Plaintiffs respectfully submit that such evidence “opens the door” to their prior



                                                            
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   While Plaintiff Harris first used AndroGel for a short period in 2004, his AndroGel use related to his
2012 stroke – which is the basis for his lawsuit – began in August 2012.
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misconduct that resulted in the Depakote CIA. See United States v. Bell, 180 F. Supp. 3d 534, 538-

39 (N.D. Ill. 2014) (quoting United States v. Villegas, 655 F.3d 662, 672 (7th Cir. 2011).

       For these reasons, Plaintiffs respectfully submit that AbbVie’s request for a wholesale

exclusion regarding its CIA should be denied.

                             Plaintiffs’ Opposition to AbbVie’s Request (f)

       “Plaintiff will not introduce any evidence relating to “men’s clinics” and/or relating to
allegedly inaccurate statements by doctors about TRT’s benefits, unless the Plaintiff received
AndroGel through a men’s clinic or Plaintiff’s prescriber made similar statements. (CMO 59, p.
10).”

Response:
       While AbbVie’s proposal may be true to the letter of the Court’s ruling on this issue (see

CMO 59, at *10), in practice and in application in future trials, AbbVie’s proposed summary

regarding “inaccurate statements by doctors about TRT’s benefits” could lead to unintended and

improper expansion of the Court’s narrow ruling.

       The Motion that resulted in this ruling asked the Court to exclude two specific “inaccurate

statements about TRT benefits” by doctors other than the plaintiff’s prescribing physician. Both

statements were excluded because they could not be attributed to AbbVie’s off-label marketing.

Specifically, these are Trial Exhibit 31, at 17 (statement that testosterone is a “fountain of youth”),

attached hereto as Ex. 4 and Trial Exhibit 1059 (statements advocating for use of TRT as an anti-

aging treatment) attached hereto as Ex. 5. Defendants’ Omnibus MIL, Case No. 14-cv-1748, Doc.

No. 1915, at *20; CMO 59, at *10.

       Plaintiffs are not asking the Court to reconsider this Order. However, there is a risk that

AbbVie’s proposed summary of the Court’s ruling on these two statements could be

misinterpreted. To avoid this risk, Plaintiffs propose the following alternative summary: “Plaintiff

will not introduce any evidence relating to “men’s clinics” and will not introduce the statement in

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Exhibit 31 (page 17) using the phrase “fountain of youth” to describe TRT or the statements in

Exhibit 1059 advocating use of TRT as an anti-aging treatment, unless the Plaintiff received

AndroGel through a men’s clinic or Plaintiff’s prescriber made similar statements.”


                         Plaintiffs’ Opposition to AbbVie’s Request (h)

        “Plaintiff will not introduce evidence supporting profit disgorgement, unless and until
Plaintiff first makes a proffer outside of the jury’s presence that such damages are allowed under
the governing state’s law and obtains the Court’s approval. (CMO 59, pp. 13-14).”
Response:

       AbbVie’s request to have a global ruling on profit disgorgement is misplaced. The issue

of whether or not any individual Plaintiff has a claim for “profit disgorgement” is strictly a function

of state law in each individual case. AbbVie cites to CMO No. 59, Doc. No. 1966, at *13-14, as

support for its position, but the agreement reached there was specific to the Konrad and Mitchell

cases, and in those cases, the plaintiffs agreed to abandon any disgorgement claims. Here, if any

Wave 1 Plaintiff’s home-state law permits a potential claim for profit disgorgement, AbbVie

should have addressed it at summary judgment or, at a bare minimum, briefed it as an in limine

matter in that individual case. In any event, the issue is not proper for a global disposition.



                         Plaintiffs’ Opposition to AbbVie’s Request (i)

       “Neither party will introduce evidence of sales after the year of Plaintiff’s injury (Konrad
Dkt. 39 ruling on Hynd designations; reaffirmed in Mitchell II Tr., 3/12/18, pp. 804-814) or
IMS/prescription data or prescription trends after the year of Plaintiff’s injury. (CMO 123, p. 7).”


Response:
       AbbVie incorrectly contends that Plaintiff has agreed to the stipulated language it included

in Section X. i. of each of its MILs. See, e.g., Abraham Doc. No. 18, at 14-15. To be clear,




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Plaintiffs do agree that evidence concerning sales and IMS/prescription data should not extend

beyond the year of a given plaintiff’s injury.

       However, the parties were unable to agree on language surrounding the admissibility of

evidence concerning prescription trends.         Consistent with prior trials, Plaintiffs should be

permitted to present evidence of prescription trends and discussions of TRT usage that served as

support for the May 2015 label change, which included a Limitation of Use regarding age-related

hypogonadism and other modifications to the class TRT Indication in order to stem the tide of

rampant off-label marketing and off-label TRT use. Plaintiffs’ position is consistent with the

Court’s prior rulings on this same issue. For example, in ruling on essentially the same MIL filed

by AbbVie prior to the Konrad and Mitchell trials the Court concluded, “AbbVie maintains that

even if Rule 407 does not apply, evidence of label changes or other regulatory activity that post-

dates plaintiffs’ use of AndroGel is irrelevant to any of plaintiffs’ claims. The court disagrees.”

See CMO 59, MDL Doc. No. 1966, at 3

       Thus, Plaintiffs should continue to be permitted to offer evidence of prescription trends

that prompted the 2015 label changes for TRT products, even if those trends cover periods of time

after the injury date in a given plaintiff’s case. Without this foundational evidence, the jury will

have no framework for understanding the 2015 label changes. However, evidence of prescription

trends after the May 2015 label change does not carry the same probative value and should be

excluded. This position is also consistent with the Court’s prior rulings. See CMO 123, Doc. No.

2672, at 7 (excluding opinions from Dr. Khera about prescription trends for TRT after the 2015

labeling changes).

                         Plaintiffs’ Opposition to AbbVie’s Request (j)

       “Plaintiff will not introduce evidence or argument suggesting that Frank Sasinowski’s
meeting with the FDA pertained to the agency’s proposal to change the TRT class label unless and

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until the Plaintiff elicits evidence that gives rise to a reasonable inference that AbbVie’s efforts led
the FDA not to propose a label change. Plaintiff will not use characterizations like “back channel,”
“lobbyist,” “lobbying,” and similar terms, including in opening statements, unless and until first
obtaining the Court’s approval. (CMO 94, pp. 22-24).”


Response:
       Plaintiffs oppose AbbVie’s request for an in limine ruling limiting evidence or argument

concerning the interactions between AbbVie’s representative—i.e., Frank Sasinowski—and FDA

in relation to the TRT Class label.5 Such a request goes well beyond the Court’s prior ruling, and

ignores the trial record developed thereafter that, as acknowledged in documents and AbbVie

witness testimony, Mr. Sasinowski, facilitated various formal and informal interactions with the

FDA on the TRT Class label.

       As evidence adduced in previous trials reveals, following notice from the FDA that a

“Class” label would be imposed for AndroGel (and all TRT products) limiting symptom

improvement language in the label and otherwise making express limitations on the approved

patient population, AbbVie engaged in a multi-pronged strategy to resist such changes.

Specifically, AbbVie formed the Class label response team, led by Mr. Wojtanowski, which

employed a multi-pronged defensive strategy involving formal submissions to FDA, a consumer

and physician public relations campaign, and informal communications with FDA, which included

the use of Mr. Sasinowski as AbbVie’s agent to privately meet with FDA medical officer (Dr.




                                                            
5
   Mr. Sasinowski is a lawyer with Hyman, Phelps & McNamara, P.C.


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Daniel Shames), and share back informal insights.6 The gist of AbbVie’s instant request concerns

those “informal” efforts.7

        As Steven Wojtanowski8 testified in multiple trials, Mr. Sasinowski was retained as

AbbVie’s representative to discuss AndroGel and the class labeling issue for claims of symptom

improvement with FDA. Mitchell I Tr.9 at 419:18-19; Konrad II Tr.10 at 368:6-14 and 374:10-15.

In that regard, Mr. Wojtanowski confirmed that Mr. Sasinowski “informal[ly]” met with FDA

medical officer Dan Shames privately and on multiple occasions to discuss TRT Class labeling.

Mitchell I Tr. at 419:20-420:1; Nolte Tr.11 at 476:8-478:4; Mitchell II Tr. at 360:3-12 and 364:3-

365:1; Konrad II Tr. at 369:4-14.

        The Court’s prior in limine ruling in CMO 94 excluded limited evidence relating only to

one November 2005 meeting and its outcome.12 The result of the Court’s prior ruling is that

Plaintiffs were not allowed to offer “questions and argument and apparent inferences” related to

that one particular meeting in November 2005. Nolte Tr. at 309:25-310:8. The Court never

precluded Plaintiffs from offering other broader evidence of contacts—both formal and informal—

between AbbVie, or its representative Mr. Sasinowski, and FDA. Nolte Tr. at 309:25-310:1.

Indeed, in Nolte, and in Mitchell II thereafter, evidence of Mr. Sasinowski’s role and his

                                                            
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   See, e.g., Trial Ex. 353.2 attached hereto as Ex. 6 (“Solvay Pharmaceuticals plans to provide a formal
response to the draft guidance...”); Trial Ex. 352.8 attached hereto as Ex. 7 (“Develop public relations
campaign to minimize negative perceptions regarding change prior to formal FDA guidance”); Trial Ex.
728 attached hereto as Ex. 8 (“D. Aberback will email Frank Sasinowski for an update on any FDA
informal communications.”)
7
   Notably, the term “informal” comes from AbbVie’s own documents, so Plaintiffs may continue to
characterize the meetings as such. See Trial Ex. 728 (Ex. 8) (April 10, 2005 Testosterone Class Labeling
Response Team Meeting Minutes) (“D. Aberback will email Frank Sasinowski for an update on any FDA
informal communications.”).
8
   Mr. Wojtanowski held various high-level positions in AbbVie’s and Solvay’s regulatory departments.
9
   Excerpts of the Mitchell I Tr. are attached hereto as Ex. 9
10
    Excerpts of Konrad II Tr. are attached hereto as Ex. 10
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    Excerpts of Nolte Tr. are attached hereto as Ex. 11
12
    The Court also rejected AbbVie’s argument that the Noerr-Pennington doctrine applied to bar evidence
of AbbVie’s interactions with the government. CMO 94 at 22-23.
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interactions with FDA—with AbbVie’s knowledge and endorsement—concerning the Class

labeling issue was properly adduced, notably, without objection.

        As in prior trials, Plaintiff should be permitted to elicit testimony demonstrating that

AbbVie retained Mr. Sasinowski as its representative to facilitate and attend various informal

meetings with the FDA as part of AbbVie’s Class label defense, together with the nature of those

interactions/communications. See Ex. 728 (April 10, 2005 Testosterone Class Labeling Response

Team Meeting Minutes) (“D. Aberback will email Frank Sasinowski for an update on any FDA

informal communications.”); See also Mitchell II Tr. at 363:1-364:13 (testimony from Steven

Wojtanowski regarding same). The broader limitations AbbVie now seeks through its current

proposal are completely unwarranted; Mr. Sasinowski’s interactions with FDA on AbbVie’s

behalf, as its representative, are admissible in the same manner as those undertaken directly by

AbbVie with FDA.

        As in prior trials, Plaintiffs agree not to use words such as “back channel” or “lobbyist”

when discussing Mr. Sasinowski’s meetings with FDA.

                                            CONCLUSION
        Based on the foregoing, the Court should deny AbbVie’s “Requests To Adopt Prior Motion
In Limine Rulings” (b, c, d, f, h, i and j) as set forth, supra.

Dated: August 29, 2018                          Respectfully submitted,

                                                /s/ Christopher A. Seeger

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                                   CERTIFICATE OF SERVICE
       I hereby certify that on August 29, 2018, I electronically transmitted the foregoing

document to the Clerk of the United States District Court using the CM/ECF system for filing and

service to all parties/counsel registered to received copies in this case.


                                               /s/ Christopher A. Seeger
                                               Christopher A. Seeger




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